           18-10857-tmd Doc#8 Filed 08/03/18 Entered 08/03/18 16:12:36 Main Document Pg 1 of 21
 Fill in this information to identify your case and this filing:

  Debtor 1                    Douglas                 J                      Craig
                             First Name              Middle Name            Last Name

  Debtor 2
  (Spouse, if filing)        First Name              Middle Name            Last Name

  United States Bankruptcy Court for the:                               Western District of Texas
                                                                                                                                                ✔ Check if this is an
                                                                                                                                                ❑
  Case number                           18-10857                                                                                                   amended filing


Official Form 106A/B
Schedule A/B: Property                                                                                                                                                       12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you think it
fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
     ❑ No. Go to Part 2.
     ✔ Yes. Where is the property?
     ❑
     1.1     2407 Donner Path                                      What is the property? Check all that apply.           Do not deduct secured claims or exemptions. Put the
           Street address, if available, or other
           description
                                                                   ✔ Single-family home
                                                                   ❑                                                     amount of any secured claims on Schedule D:
                                                                   ❑ Duplex or multi-unit building                       Creditors Who Have Claims Secured by Property.
                                                                   ❑ Condominium or cooperative                         Current value of the           Current value of the
                                                                   ❑ Manufactured or mobile home                        entire property?               portion you own?
             Round Rock, TX 78681                                  ❑ Land                                                           $415,000.00                   $207,500.00
           City                         State       ZIP Code       ❑ Investment property
                                                                   ❑ Timeshare                                          Describe the nature of your ownership interest (such
                                                                                                                        as fee simple, tenancy by the entireties, or a life
             Williamson
           County
                                                                   ❑ Other                                              estate), if known.
                                                                   Who has an interest in the property? Check one.
                                                                                                                         Fee Simple
                                                                   ❑ Debtor 1 only
                                                                   ❑ Debtor 2 only
                                                                   ❑ Debtor 1 and Debtor 2 only                         ✔ Check if this is community property
                                                                                                                        ❑
                                                                   ✔ At least one of the debtors and another
                                                                   ❑
                                                                                                                           (see instructions)

                                                                   Source of Value:
                                                                    WCAD



    If you own or have more than one, list here:

     1.2     E 230 Ft Of N 1/4 Of Lot 16 Of Pb 1 Pg                What is the property? Check all that apply.           Do not deduct secured claims or exemptions. Put the
             165 Ex N & E 35 Ft Aka Tract 12
                                                                   ❑ Single-family home                                  amount of any secured claims on Schedule D:
                                                                   ❑ Duplex or multi-unit building
           Street address, if available, or other
                                                                                                                         Creditors Who Have Claims Secured by Property.
           description
                                                                   ❑ Condominium or cooperative                         Current value of the           Current value of the
                                                                   ❑ Manufactured or mobile home                        entire property?               portion you own?
                                                                   ✔ Land
                                                                   ❑                                                                  $1,250.00                       $212.50
             , FL                                                  ❑ Investment property
           City                         State       ZIP Code       ❑ Timeshare                                          Describe the nature of your ownership interest (such
                                                                                                                        as fee simple, tenancy by the entireties, or a life
             Brevard
                                                                   ❑ Other                                              estate), if known.
           County                                                  Who has an interest in the property? Check one.
                                                                   ✔ Debtor 1 only
                                                                                                                         Fee Simple
                                                                   ❑
                                                                   ❑ Debtor 2 only
                                                                   ❑ Debtor 1 and Debtor 2 only                         ❑ Check if this is community property
                                                                   ❑ At least one of the debtors and another
                                                                                                                           (see instructions)

                                                                   Other information you wish to add about this item, such as local
                                                                   property identification number:
                                                                   Vacant Residential Land (Single Family, Unplatted)

                                                                   Source of Value:
                                                                   Brevard County, FL tax rolls
Official Form 106A/B                                                                Schedule A/B: Property                                                          page 1
 Debtor 1      18-10857-tmd
                     Douglas Doc#8
                                 J Filed 08/03/18   Entered 08/03/18 16:12:36 Main
                                                Craig                                Document
                                                                              Case number               Pg 2 of 21
                                                                                          (if known) 18-10857
                             First Name                    Middle Name                       Last Name



       1.3     W 1/2 Of N 3/4 Of Lot 5 Per Pb 1 Pg 165                         What is the property? Check all that apply.                                   Do not deduct secured claims or exemptions. Put the
               Ex W 25 Ft Aka Tract 254
                                                                               ❑ Single-family home                                                          amount of any secured claims on Schedule D:
                                                                               ❑ Duplex or multi-unit building
              Street address, if available, or other
                                                                                                                                                             Creditors Who Have Claims Secured by Property.
              description
                                                                               ❑ Condominium or cooperative                                                Current value of the          Current value of the
                                                                               ❑ Manufactured or mobile home                                               entire property?              portion you own?
                                                                               ✔ Land
                                                                               ❑                                                                                         $1,250.00                      $212.50
               , FL 32781                                                      ❑ Investment property
              City                                State        ZIP Code        ❑ Timeshare                                                                 Describe the nature of your ownership interest (such
                                                                                                                                                           as fee simple, tenancy by the entireties, or a life
                                                                               ❑ Other                                                                     estate), if known.
              County
                                                                               Who has an interest in the property? Check one.
                                                                               ✔ Debtor 1 only
                                                                                                                                                            Fee Simple
                                                                               ❑
                                                                               ❑ Debtor 2 only
                                                                               ❑ Debtor 1 and Debtor 2 only                                                 ❑ Check if this is community property
                                                                               ❑ At least one of the debtors and another
                                                                                                                                                                (see instructions)

                                                                               Other information you wish to add about this item, such as local
                                                                               property identification number:
                                                                               Vacant Residential Land (Single Family, Unplatted)


       1.4     SW Quarter of the NW Quarter (SW/4                              What is the property? Check all that apply.                                   Do not deduct secured claims or exemptions. Put the
               NW/4)
                                                                               ❑ Single-family home                                                          amount of any secured claims on Schedule D:
                                                                               ❑ Duplex or multi-unit building
              Street address, if available, or other
                                                                                                                                                             Creditors Who Have Claims Secured by Property.
              description
                                                                               ❑ Condominium or cooperative                                                Current value of the          Current value of the
                                                                               ❑ Manufactured or mobile home                                               entire property?              portion you own?
                                                                               ❑ Land                                                                                      $250.00                      $250.00
               , KS                                                            ❑ Investment property
              City                                State        ZIP Code        ❑ Timeshare                                                                 Describe the nature of your ownership interest (such
                                                                                                                                                           as fee simple, tenancy by the entireties, or a life
                                                                                                Working Interest Oil & Gas
               Russell                                                         ✔ Other
                                                                               ❑                          Lease
                                                                                                                                                           estate), if known.
              County
                                                                               Who has an interest in the property? Check one.                              Royalty Interest - Oil & Gas Lease
                                                                               ✔ Debtor 1 only
                                                                               ❑
                                                                               ❑ Debtor 2 only                                                              ❑ Check if this is community property
                                                                               ❑ Debtor 1 and Debtor 2 only                                                     (see instructions)
                                                                               ❑ At least one of the debtors and another
                                                                               Other information you wish to add about this item, such as local
                                                                               property identification number:
                                                                               Section 32-11S-15W, Russell County, KS from the Roland Green Estate

                                                                               Source of Value:
                                                                               0.001041667 royalty interest


       1.5     Lease ID: H.J. MAI #1 & #3 & #4 & #6                            What is the property? Check all that apply.                                   Do not deduct secured claims or exemptions. Put the
              Street address, if available, or other
              description                                                      ❑ Single-family home                                                          amount of any secured claims on Schedule D:
                                                                               ❑ Duplex or multi-unit building                                               Creditors Who Have Claims Secured by Property.
                                                                               ❑ Condominium or cooperative                                                Current value of the          Current value of the
                                                                               ❑ Manufactured or mobile home                                               entire property?              portion you own?
               , KS                                                            ❑ Land                                                                                    $2,000.00                    $2,000.00
              City                                State        ZIP Code        ❑ Investment property
                                                                               ❑ Timeshare                                                                 Describe the nature of your ownership interest (such
                                                                                                                                                           as fee simple, tenancy by the entireties, or a life
               Russell
              County
                                                                               ❑ Other                                                                     estate), if known.
                                                                               Who has an interest in the property? Check one.
                                                                               ✔ Debtor 1 only
                                                                                                                                                             Working Interest - Oil & Gas Lease
                                                                               ❑
                                                                               ❑ Debtor 2 only
                                                                               ❑ Debtor 1 and Debtor 2 only                                                 ❑ Check if this is community property
                                                                               ❑ At least one of the debtors and another
                                                                                                                                                                (see instructions)

                                                                               Source of Value:
                                                                               Offer from brother to buy his interest


Official
 2. Add  Form
           the106A/B
               dollar value of the portion you own for all of your entries fromSchedule                      A/B: Property
                                                                                             Part 1, including              any entries for pages                                                   page 2
      you have attached for Part 1. Write that number here.........................................................................................................                  ➜        $210,175.00
 Debtor 1    18-10857-tmd
                   Douglas Doc#8
                               J Filed 08/03/18   Entered 08/03/18 16:12:36 Main
                                              Craig                                Document
                                                                            Case number               Pg 3 of 21
                                                                                        (if known) 18-10857
                            First Name                    Middle Name                       Last Name




 Part 2: Describe Your Vehicles



 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
       ❑ No
       ✔ Yes
       ❑
       3.1 Make:                                   Ford                      Who has an interest in the property? Check one.                                 Do not deduct secured claims or exemptions. Put the
                                                   Expedition
                                                                             ✔ Debtor 1 only
                                                                             ❑                                                                               amount of any secured claims on Schedule D:
            Model:
                                                                             ❑ Debtor 2 only                                                                 Creditors Who Have Claims Secured by Property.
                                                   2005                      ❑ Debtor 1 and Debtor 2 only                                                  Current value of the        Current value of the
                                                                             ❑ At least one of the debtors and another
            Year:
                                                   154000                                                                                                  entire property?            portion you own?
            Approximate mileage:                                                                                                                                         $5,000.00                  $5,000.00
            Other information:                                               ❑Check if this is community property (see
                                                                                 instructions)
             Needs mechanical work




      If you own or have more than one, list here:

       3.2 Make:                                   Mercedes                  Who has an interest in the property? Check one.                                 Do not deduct secured claims or exemptions. Put the
                                                   CLK 320
                                                                             ✔ Debtor 1 only
                                                                             ❑                                                                               amount of any secured claims on Schedule D:
            Model:
                                                                             ❑ Debtor 2 only                                                                 Creditors Who Have Claims Secured by Property.
                                                   1999                      ❑ Debtor 1 and Debtor 2 only                                                  Current value of the        Current value of the
                                                                             ❑ At least one of the debtors and another
            Year:
                                                   250000                                                                                                  entire property?            portion you own?
            Approximate mileage:                                                                                                                                         $1,000.00                  $1,000.00
            Other information:                                               ❑Check if this is community property (see
                                                                                 instructions)
             needs mechanical work, drivetrain




 4.     Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
        Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
        ✔ No
        ❑
        ❑ Yes
 5.    Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
       you have attached for Part 2. Write that number here.........................................................................................................                 ➜              $6,000.00




 Part 3: Describe Your Personal and Household Items

  Do you own or have any legal or equitable interest in any of the following items?                                                                                                    Current value of the
                                                                                                                                                                                       portion you own?
                                                                                                                                                                                       Do not deduct secured
                                                                                                                                                                                       claims or exemptions.

 6. Household goods and furnishings
       Examples:       Major appliances, furniture, linens, china, kitchenware

       ❑ No
       ✔ Yes. Describe........
       ❑
                                                See Attached.
                                                                                                                                                                                                    $10,475.00




Official Form 106A/B                                                                                     Schedule A/B: Property                                                                     page 3
 Debtor 1    18-10857-tmd
                   Douglas Doc#8
                               J Filed 08/03/18   Entered 08/03/18 16:12:36 Main
                                              Craig                                Document
                                                                            Case number               Pg 4 of 21
                                                                                        (if known) 18-10857
                            First Name                      Middle Name                        Last Name



 7. Electronics
       Examples:        Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections;
                        electronic devices including cell phones, cameras, media players, games

       ❑ No
       ✔ Yes. Describe........
       ❑
                                                 See Attached.                                                                                                                           $700.00



 8.    Collectibles of value
       Examples:        Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                        stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
       ✔ No
       ❑
       ❑ Yes. Describe........

 9. Equipment for sports and hobbies
       Examples:        Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks;
                        carpentry tools; musical instruments

       ❑ No
       ✔ Yes. Describe........
       ❑
                                                 Young Chang baby grand piano                                                                                                               $0.00



 10.    Firearms
        Examples:         Pistols, rifles, shotguns, ammunition, and related equipment
        ✔ No
        ❑
        ❑ Yes. Describe........

 11.    Clothes
        Examples:         Everyday clothes, furs, leather coats, designer wear, shoes, accessories
        ✔ No
        ❑
        ❑ Yes. Describe........

 12.    Jewelry
        Examples:         Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver

        ❑ No
        ✔ Yes. Describe........
        ❑
                                                 See Attached.
                                                                                                                                                                                         $500.00



 13.    Non-farm animals
        Examples:         Dogs, cats, birds, horses
        ✔ No
        ❑
        ❑ Yes. Describe........

 14.    Any other personal and household items you did not already list, including any health aids you did not list

        ✔ No
        ❑
        ❑ Yes. Describe........

 15.    Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
        for Part 3. Write that number here........................................................................................................................................➜   $11,675.00




Official Form 106A/B                                                                                        Schedule A/B: Property                                                     page 4
 Debtor 1    18-10857-tmd
                   Douglas Doc#8
                               J Filed 08/03/18   Entered 08/03/18 16:12:36 Main
                                              Craig                                Document
                                                                            Case number               Pg 5 of 21
                                                                                        (if known) 18-10857
                              First Name                         Middle Name                             Last Name




 Part 4: Describe Your Financial Assets

  Do you own or have any legal or equitable interest in any of the following?                                                                                                                    Current value of the
                                                                                                                                                                                                 portion you own?
                                                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                                                 claims or exemptions.


 16.   Cash
       Examples:           Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
       ✔ No
       ❑
       ❑ Yes.............................................................................................................................................................   Cash..............


 17.   Deposits of money
       Examples:           Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other
                           similar institutions. If you have multiple accounts with the same institution, list each.

       ❑ No
       ✔ Yes..................
       ❑
                                                                                                         Institution name:



                                                17.1. Checking account:                                   Bank of America                                                                                     $1,068.35


                                                17.2. Checking account:


                                                17.3. Savings account:                                    Bank of America                                                                                         $0.12


                                                17.4. Savings account:


                                                17.5. Certificates of deposit:


                                                17.6. Other financial account:


                                                17.7. Other financial account:


                                                17.8. Other financial account:


                                                17.9. Other financial account:


 18.   Bonds, mutual funds, or publicly traded stocks
       Examples:           Bond funds, investment accounts with brokerage firms, money market accounts
       ✔ No
       ❑
       ❑ Yes..................
 19.   Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
       an LLC, partnership, and joint venture

       ✔ No
       ❑
       ❑ Yes. Give specific
            information about
            them...................




Official Form 106A/B                                                                                                    Schedule A/B: Property                                                               page 5
 Debtor 1   18-10857-tmd
                  Douglas Doc#8
                              J Filed 08/03/18   Entered 08/03/18 16:12:36 Main
                                             Craig                                Document
                                                                           Case number               Pg 6 of 21
                                                                                       (if known) 18-10857
                          First Name            Middle Name              Last Name



 20.   Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about
            them...................

 21.   Retirement or pension accounts
       Examples:        Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
       ✔ No
       ❑
       ❑ Yes. List each account
            separately.
 22.   Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or
       others
       ✔ No
       ❑
       ❑ Yes.....................
 23.   Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

       ✔ No
       ❑
       ❑ Yes.....................
 24.   Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
       ✔ No
       ❑
       ❑ Yes.....................
 25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your
       benefit

       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....


 26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples:        Internet domain names, websites, proceeds from royalties and licensing agreements
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....


 27.   Licenses, franchises, and other general intangibles
       Examples:        Building permits, exclusive licenses, cooperative association holdings, liquor licenses,
                        professional licenses
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....




Official Form 106A/B                                                               Schedule A/B: Property                                    page 6
 Debtor 1   18-10857-tmd
                  Douglas Doc#8
                              J Filed 08/03/18   Entered 08/03/18 16:12:36 Main
                                             Craig                                Document
                                                                           Case number               Pg 7 of 21
                                                                                       (if known) 18-10857
                       First Name               Middle Name              Last Name



 28.   Tax refunds owed to you

       ✔ No
       ❑
       ❑ Yes.    Give specific information about                                                                                Federal:
                 them, including whether you
                 already filed the returns and the                                                                              State:
                 tax years.......................
                                                                                                                                Local:



 29.   Family support
       Examples:     Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

       ✔ No
       ❑
       ❑ Yes.    Give specific information..........
                                                                                                                                Alimony:

                                                                                                                                Maintenance:

                                                                                                                                Support:

                                                                                                                                Divorce settlement:

                                                                                                                                Property settlement:


 30.   Other amounts someone owes you
       Examples:     Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social
                     Security benefits; unpaid loans you made to someone else
       ✔ No
       ❑
       ❑ Yes.    Give specific information..........




 31.   Interests in insurance policies
       Examples:     Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
       ✔ No
       ❑
       ❑ Yes.    Name the insurance company
                 of each policy and list its value....

 32.   Any interest in property that is due you from someone who has died
       If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property
       because someone has died.
       ✔ No
       ❑
       ❑ Yes.    Give specific information..........




 33.   Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
       Examples:     Accidents, employment disputes, insurance claims, or rights to sue
       ✔ No
       ❑
       ❑ Yes.    Describe each claim................




Official Form 106A/B                                                               Schedule A/B: Property                                              page 7
 Debtor 1   18-10857-tmd
                  Douglas Doc#8
                              J Filed 08/03/18   Entered 08/03/18 16:12:36 Main
                                             Craig                                Document
                                                                           Case number               Pg 8 of 21
                                                                                       (if known) 18-10857
                           First Name                      Middle Name                       Last Name



 34.   Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
       to set off claims

       ✔ No
       ❑
       ❑ Yes.       Describe each claim................




 35.   Any financial assets you did not already list

       ✔ No
       ❑
       ❑ Yes.       Give specific information..........




 36.   Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
       for Part 4. Write that number here..................................................................................................................................➜            $1,068.47



 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 37.   Do you own or have any legal or equitable interest in any business-related property?
       ✔No. Go to Part 6.
       ❑
       ❑Yes. Go to line 38.
 38.   Accounts receivable or commissions you already earned

       ❑ No
       ❑ Yes. Describe........

 39.   Office equipment, furnishings, and supplies
       Examples:         Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

       ❑ No
       ❑ Yes. Describe........

 40.   Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       ❑ No
       ❑ Yes. Describe........

 41.   Inventory

       ❑ No
       ❑ Yes. Describe........

 42.   Interests in partnerships or joint ventures

       ❑ No
       ❑ Yes. Describe........

                                           Name of entity:                                                                                                        % of ownership:

                                                                                                                                                                                    %


                                                                                                                                                                                    %



Official Form 106A/B                                                                                       Schedule A/B: Property                                                       page 8
 Debtor 1   18-10857-tmd
                  Douglas Doc#8
                              J Filed 08/03/18   Entered 08/03/18 16:12:36 Main
                                             Craig                                Document
                                                                           Case number               Pg 9 of 21
                                                                                       (if known) 18-10857
                           First Name                      Middle Name                       Last Name




                                                                                                                                                                              %


 43.   Customer lists, mailing lists, or other compilations
       ❑ No
       ❑ Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
               ❑ No
               ❑ Yes. Describe........

 44.   Any business-related property you did not already list

       ❑ No
       ❑ Yes. Give specific
            information.........




 45.   Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
       for Part 5. Write that number here.................................................................................................................................➜



 Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
         If you own or have an interest in farmland, list it in Part 1.

 46.   Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
       ✔No. Go to Part 7.
       ❑
       ❑Yes. Go to line 47.
 47.   Farm animals
       Examples:         Livestock, poultry, farm-raised fish
       ❑ No
       ❑ Yes.........................

 48.   Crops—either growing or harvested

       ❑ No
       ❑ Yes. Give specific
            information.............


 49.   Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

       ❑ No
       ❑ Yes..........................



Official Form 106A/B                                                                                       Schedule A/B: Property                                                 page 9
 Debtor 1      18-10857-tmd
                    Douglas    Doc#8
                                  J    Filed 08/03/18
                                                   Craig Entered 08/03/18 16:12:36 Case
                                                                                    Main   Document
                                                                                        number                Pg 10 of
                                                                                               (if known) 18-10857
                    First Name    Middle Name      Last Name   21

 50.   Farm and fishing supplies, chemicals, and feed

       ❑ No
       ❑ Yes..........................


 51.   Any farm- and commercial fishing-related property you did not already list

       ❑ No
       ❑ Yes. Give specific
            information.............



 52.   Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
       for Part 6. Write that number here...................................................................................................................................➜



 Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above


 53.   Do you have other property of any kind you did not already list?
       Examples:          Season tickets, country club membership
       ✔ No
       ❑
       ❑ Yes. Give specific
            information.............




 54.   Add the dollar value of all of your entries from Part 7. Write that number here.....................................................➜                                                      $0.00



 Part 8: List the Totals of Each Part of this Form

 55.   Part 1: Total real estate, line 2..........................................................................................................................................➜         $210,175.00


 56.   Part 2: Total vehicles, line 5                                                                                          $6,000.00


 57.   Part 3: Total personal and household items, line 15                                                                   $11,675.00


 58.   Part 4: Total financial assets, line 36                                                                                 $1,068.47


 59.   Part 5: Total business-related property, line 45                                                                              $0.00


 60.   Part 6: Total farm- and fishing-related property, line 52                                                                     $0.00


 61.   Part 7: Total other property not listed, line 54                                                +                             $0.00


 62.   Total personal property. Add lines 56 through 61..............                                                        $18,743.47             Copy personal property total➜     +   $18,743.47




 63.   Total of all property on Schedule A/B. Add line 55 + line 62.................................................................................................                        $228,918.47




Official Form 106A/B                                                                                            Schedule A/B: Property                                                       page 10
            18-10857-tmd Doc#8 Filed 08/03/18 Entered 08/03/18 16:12:36 Main Document Pg 11 of
 Debtor 1        Douglas    J              Craig    21                 Case number (if known) 18-10857
                       First Name         Middle Name           Last Name



                                                        SCHEDULE A/B: PROPERTY
                                                                  Continuation Page

 6.   Household goods and furnishings
      2 night stands: $150 end table: $100 coffee table: $300                                        $550.00
      gas grill, new, still boxed                                                                    $300.00
      gas grill: $125 3 bookcases: $300                                                              $425.00
      futon                                                                                          $500.00
      office hutch: $300 office desk: $300                                                           $600.00
      bedroom storage cube system                                                                    $300.00
      computer table TV stand                                                                        $250.00
      decorative display table                                                                       $125.00
      easy chair                                                                                     $150.00
      coffee table & end table set                                                                   $400.00
      entry way cabinet                                                                              $300.00
      server table/cabinet: $250 china hutch: $350                                                   $600.00
      dining table 7 10 chairs                                                                      $2,000.00
      washer & dryer                                                                                 $600.00
      breakfast table & chairs                                                                       $400.00
      double bed: $75 Bunk bed/futon: $200                                                           $275.00
      kind bed                                                                                       $600.00
      freezer, stand-up                                                                              $350.00
      refrigerator, garage                                                                               $50.00
      refrigerator                                                                                   $600.00
      couch, living room                                                                             $600.00
      couch, sun room                                                                                $200.00
      armoire                                                                                        $300.00

 7.   Electronics
      tv 55"                                                                                         $300.00
      2 tv's                                                                                         $400.00

 12. Jewelry
      womens assorted fashion jewelry                                                                $500.00
      wedding & engagement ring                                                                           $0.00
      women stainless steel rolex watch                                                                   $0.00




Official Form 106A/B                                                    Schedule A/B: Property
               18-10857-tmd Doc#8 Filed 08/03/18 Entered 08/03/18 16:12:36 Main Document Pg 12 of
 Fill in this information to identify your case:
                                                       21
  Debtor 1                   Douglas               J                   Craig
                             First Name            Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name        Last Name

  United States Bankruptcy Court for the:                        Western District of Texas

  Case number                           18-10857                                                                                            ✔ Check if this is an
                                                                                                                                            ❑
  (if known)                                                                                                                                    amended filing


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                          12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Hold Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. On the top of any additional pages, write your name and case number (if known).

 Part 1: List All of Your PRIORITY Unsecured Claims

  1. Do any creditors have priority unsecured claims against you?
     ❑ No. Go to Part 2.
     ✔ Yes.
     ❑
  2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
     identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
     possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
     Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
     (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                  Total       Priority           Nonpriority
                                                                                                                                  claim       amount             amount

2.1      Internal Revenue Service                                                                                                  $90,000.00      $90,000.00             $0.00
                                                                    Last 4 digits of account number
        Priority Creditor's Name
                                                                    When was the debt incurred? 2010
         Centralized Insolvency Office
                                                                    As of the date you file, the claim is: Check all that
         PO Box 7346                                                apply.
        Number           Street                                     ❑ Contingent
         Philadelphia, PA 19101-7346                                ❑ Unliquidated
        City                               State   ZIP Code         ❑ Disputed
        Who incurred the debt? Check one.                           Type of PRIORITY unsecured claim:
        ✔
        ❑ Debtor 1 only                                             ❑ Domestic support obligations
        ❑ Debtor 2 only                                             ✔ Taxes and certain other debts you owe the
                                                                    ❑
        ❑ Debtor 1 and Debtor 2 only                                    government
        ❑ At least one of the debtors and another                   ❑ Claims for death or personal injury while you were
        ❑ Check if this claim is for a community debt                   intoxicated
        Is the claim subject to offset?
                                                                    ❑ Other. Specify
        ✔ No
        ❑
        ❑ Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                       page 1 of 7
 Debtor 1      18-10857-tmd
                    Douglas    Doc#8
                                  J    Filed 08/03/18
                                                   Craig Entered 08/03/18 16:12:36 Case
                                                                                    Main   Document
                                                                                        number                Pg 13 of
                                                                                               (if known) 18-10857
                    First Name    Middle Name      Last Name   21
 Part 2: List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
      ❑     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      ✔
      ❑     Yes.
  4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
     unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
     than one creditor holds a particular claim, list the other creditors in Part 3. If you have more than three nonpriority unsecured claims fill out the Continuation Page of
     Part 2.
                                                                                                                                                             Total claim

4.1     AC&A dba American Conservation & Air                                                                                                                          $1,225.00
                                                                                  Last 4 digits of account number
        Nonpriority Creditor's Name
                                                                                  When was the debt incurred?          07/02/2018
        1706 Bench Mark Drive
                                                                                  As of the date you file, the claim is: Check all that apply.
        Number           Street
        Austin, TX 78728
                                                                                  ❑ Contingent
        City                              State     ZIP Code                      ❑ Unliquidated
        Who incurred the debt? Check one.
                                                                                  ❑ Disputed
        ✔
        ❑ Debtor 1 only                                                           Type of NONPRIORITY unsecured claim:
        ❑ Debtor 2 only                                                           ❑ Student loans
        ❑ Debtor 1 and Debtor 2 only
                                                                                  ❑ Obligations arising out of a separation agreement or
                                                                                      divorce that you did not report as priority claims
        ❑ At least one of the debtors and another
                                                                                  ❑ Debts to pension or profit-sharing plans, and other
        ❑ Check if this claim is for a community debt                                 similar debts
        Is the claim subject to offset?                                           ✔ Other. Specify
                                                                                  ❑
        ✔ No
        ❑                                                                             Other
        ❑ Yes
4.2     American Express                                                                                                                                             $28,989.00
                                                                                  Last 4 digits of account number
        Nonpriority Creditor's Name
                                                                                  When was the debt incurred?
        PO Box 981537
        Number           Street                                                   As of the date you file, the claim is: Check all that apply.
        El Paso, TX 79998                                                         ❑ Contingent
        City                              State     ZIP Code                      ❑ Unliquidated
        Who incurred the debt? Check one.                                         ❑ Disputed
        ✔
        ❑ Debtor 1 only                                                           Type of NONPRIORITY unsecured claim:
        ❑ Debtor 2 only                                                           ❑ Student loans
        ❑ Debtor 1 and Debtor 2 only                                              ❑ Obligations arising out of a separation agreement or
        ❑                                                                             divorce that you did not report as priority claims
                                                                                  ❑ Debts to pension or profit-sharing plans, and other
          At least one of the debtors and another
        ❑ Check if this claim is for a community debt                                 similar debts
        Is the claim subject to offset?                                           ✔ Other. Specify
                                                                                  ❑
        ✔ No
        ❑                                                                             Credit Card
        ❑ Yes
4.3     Capital One                                                                                                                                                   $1,296.00
                                                                                  Last 4 digits of account number
        Nonpriority Creditor's Name
                                                                                  When was the debt incurred?
        PO Box 30281
        Number           Street                                                   As of the date you file, the claim is: Check all that apply.
        Salt Lake City, UT 84130                                                  ❑ Contingent
        City                              State     ZIP Code                      ❑ Unliquidated
        Who incurred the debt? Check one.                                         ❑ Disputed
        ✔
        ❑ Debtor 1 only                                                           Type of NONPRIORITY unsecured claim:
        ❑ Debtor 2 only                                                           ❑ Student loans
        ❑ Debtor 1 and Debtor 2 only                                              ❑ Obligations arising out of a separation agreement or
        ❑                                                                             divorce that you did not report as priority claims
                                                                                  ❑ Debts to pension or profit-sharing plans, and other
          At least one of the debtors and another
        ❑ Check if this claim is for a community debt                                 similar debts
        Is the claim subject to offset?                                           ✔ Other. Specify
                                                                                  ❑
        ✔ No
        ❑                                                                             Credit Card
        ❑ Yes




Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                                          page 2 of 7
              18-10857-tmd Doc#8 Filed 08/03/18 Entered 08/03/18 16:12:36 Main Document Pg 14 of
 Debtor 1          Douglas    J              Craig    21                 Case number (if known) 18-10857
                       First Name             Middle Name           Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                   Total claim


4.4     Chase Card                                                                                                                                       $515.00
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        PO Box 15298
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Wilmington, DE 19850                                                ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                           divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                            ❑   Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No                                                                Credit Card
       ❑      Yes
4.5     Credit Management, LP                                                                                                                             $60.00
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        4200 International Pkwy
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Carrollton, TX 75007                                                ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                           divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                            ❑   Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No                                                                3rd Party Debt Buyer
       ❑      Yes
4.6     Discover Bank                                                                                                                               $10,347.00
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        PO Box 15316
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Wilmington, DE                                                      ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                           divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                            ❑   Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No                                                                Credit Card
       ❑      Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                          page 3 of 7
              18-10857-tmd Doc#8 Filed 08/03/18 Entered 08/03/18 16:12:36 Main Document Pg 15 of
 Debtor 1          Douglas    J              Craig    21                 Case number (if known) 18-10857
                       First Name             Middle Name           Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                   Total claim


4.7     Diversified Consultants                                                                                                                      $1,695.00
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        10550 Deerwood Park Blvd Ste 309
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Jacksonville, FL 32256                                              ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                           divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                            ❑   Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No                                                                3rd Party Debt Buyer
       ❑      Yes
4.8     Merchants & Professional Credit Bureau, Inc.                                                                                                     $464.00
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        PO Box 140675
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Austin, TX 78714-0675                                               ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                           divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                            ❑   Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No                                                                medical bills
       ❑      Yes
4.9     Roto Rooter Services Co                                                                                                                      $7,557.37
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?          06/11/2018
        2800 Longhorn Blvd
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Austin, TX 78758                                                    ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                                divorce that you did not report as priority claims

       ❑                                                                    ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                       similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No                                                                services
       ❑      Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                          page 4 of 7
              18-10857-tmd Doc#8 Filed 08/03/18 Entered 08/03/18 16:12:36 Main Document Pg 16 of
 Debtor 1          Douglas    J              Craig    21                 Case number (if known) 18-10857
                       First Name             Middle Name           Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                   Total claim


4.10    Sarma Collections                                                                                                                                $677.00
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        555 E Ramsey Rd
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        San Antonio, TX 78216                                               ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                           divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                            ❑   Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No                                                                medical bills
       ❑      Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                          page 5 of 7
              18-10857-tmd Doc#8 Filed 08/03/18 Entered 08/03/18 16:12:36 Main Document Pg 17 of
 Debtor 1          Douglas    J              Craig    21                 Case number (if known) 18-10857
                       First Name          Middle Name              Last Name

 Part 3: List Others to Be Notified About a Debt That You Already Listed

  5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection
     agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly,
     if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons
     to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.
        Austin Radiological Association                               On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
        12554 Riata Vista Circle                                      Line   4.5   of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Number           Street                                                                    ✔
                                                                                                  ❑    Part 2: Creditors with Nonpriority Unsecured Claims
        Austin, TX 78727
       City                                  State      ZIP Code      Last 4 digits of account number

        AT&T                                                          On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
        PO Box 5014                                                   Line   4.7   of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Number           Street                                                                    ✔
                                                                                                  ❑    Part 2: Creditors with Nonpriority Unsecured Claims
        Carol Stream, IL 60197-5014
       City                                  State      ZIP Code      Last 4 digits of account number

        Capitol Anesthesiology Association                            On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
        3705 Medical Parkway Suite 570                                Line 4.10 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Number           Street                                                                    ✔
                                                                                                  ❑    Part 2: Creditors with Nonpriority Unsecured Claims
        Austin, TX 78705
       City                                  State      ZIP Code      Last 4 digits of account number

                                                                      One which entry in Part 1 or Part 2 did you list the original creditor?

                                                                                   of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
                                                                      Line
       Number           Street                                                                     ❑ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                      Last 4 digits of account number

       City                                  State      ZIP Code


                                                                      One which entry in Part 1 or Part 2 did you list the original creditor?

                                                                                   of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
                                                                      Line
       Number           Street                                                                     ❑ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                      Last 4 digits of account number

       City                                  State      ZIP Code


                                                                      One which entry in Part 1 or Part 2 did you list the original creditor?

                                                                                   of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
                                                                      Line
       Number           Street                                                                     ❑ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                      Last 4 digits of account number

       City                                  State      ZIP Code


                                                                      One which entry in Part 1 or Part 2 did you list the original creditor?

                                                                                   of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
                                                                      Line
       Number           Street                                                                     ❑ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                      Last 4 digits of account number

       City                                  State      ZIP Code




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 6 of 7
            18-10857-tmd Doc#8 Filed 08/03/18 Entered 08/03/18 16:12:36 Main Document Pg 18 of
 Debtor 1        Douglas    J              Craig    21                 Case number (if known) 18-10857
                       First Name           Middle Name             Last Name

 Part 4: Add the Amounts for Each Type of Unsecured Claim

  6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
     type of unsecured claim.




                                                                                            Total claim


                   6a. Domestic support obligations                              6a.                               $0.00
 Total claims
 from Part 1       6b. Taxes and certain other debts you owe the                 6b.                          $90,000.00
                       government

                   6c. Claims for death or personal injury while you             6c.                               $0.00
                       were intoxicated

                   6d. Other. Add all other priority unsecured claims.           6d.   +                           $0.00
                       Write that amount here.

                   6e. Total. Add lines 6a through 6d.                           6e.                           $90,000.00




                                                                                            Total claim


                   6f. Student loans                                             6f.                               $0.00
 Total claims
 from Part 2       6g. Obligations arising out of a separation                   6g.                               $0.00
                       agreement or divorce that you did not report as
                       priority claims

                   6h. Debts to pension or profit-sharing plans, and             6h.                               $0.00
                       other similar debts

                   6i. Other. Add all other nonpriority unsecured claims.        6i.    +                     $52,825.37
                       Write that amount here.

                   6j. Total. Add lines 6f through 6i.                           6j.                           $52,825.37




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                          page 7 of 7
               18-10857-tmd Doc#8 Filed 08/03/18 Entered 08/03/18 16:12:36 Main Document Pg 19 of
 Fill in this information to identify your case:
                                                       21
  Debtor 1                         Douglas                       J                           Craig
                                  First Name                    Middle Name                 Last Name

  Debtor 2
  (Spouse, if filing)             First Name                    Middle Name                 Last Name

  United States Bankruptcy Court for the:                                             Western District of Texas

  Case number                                   18-10857                                                                                                                            ✔ Check if this is an
                                                                                                                                                                                    ❑
  (if known)                                                                                                                                                                           amended filing


Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical
Information                                                                                                                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Fill out all of your
schedules first; then complete the information on this form. If you are filing amended schedules after you file your original forms, you must fill out a new Summary
and check the box at the top of this page.


 Part 1: Summarize Your Assets


                                                                                                                                                                                           Your assets
                                                                                                                                                                                           Value of what you own

 1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B...........................................................................................................                                       $210,175.00


    1b. Copy line 62, Total personal property, from Schedule A/B................................................................................................                                              $18,743.47


    1c. Copy line 63, Total of all property on Schedule A/B...........................................................................................................                                      $228,918.47



 Part 2: Summarize Your Liabilities



                                                                                                                                                                                           Your liabilities
                                                                                                                                                                                           Amount you owe

 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.......                                                                               $130,797.75

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                                                              $90,000.00
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F......................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F.................................                                                     +                  $52,825.37


                                                                                                                                                                  Your total liabilities                    $273,623.12

 Part 3: Summarize Your Income and Expenses

 4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I..........................................................................................                                                     $4,076.86


 5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J..................................................................................                                                                   $4,022.86




Official Form 106Sum                                                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                              page 1 of 2
              18-10857-tmd Doc#8 Filed 08/03/18 Entered 08/03/18 16:12:36 Main Document Pg 20 of
 Debtor 1          Douglas    J              Craig    21                 Case number (if known) 18-10857
                      First Name             Middle Name               Last Name



 Part 4: Answer These Questions for Administrative and Statistical Records



6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
   ❑    No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
   ✔
   ❑    Yes



7. What kind of debt do you have?
   ✔
   ❑    Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
        family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

   ❑    Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
        this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
   Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                            $3,861.32




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                                       Total claim

       From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)                                                                                      $0.00



    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                                         $90,000.00



    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                                                   $0.00



    9d. Student loans. (Copy line 6f.)                                                                                                    $0.00



    9e.Obligations arising out of a separation agreement or divorce that you did not report as priority                                   $0.00
       claims. (Copy line 6g.)



    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                         +                      $0.00



    9g. Total. Add lines 9a through 9f.                                                                                              $90,000.00




Official Form 106Sum                                   Summary of Your Assets and Liabilities and Certain Statistical Information                     page 2 of 2
               18-10857-tmd Doc#8 Filed 08/03/18 Entered 08/03/18 16:12:36 Main Document Pg 21 of
 Fill in this information to identify your case:
                                                       21
  Debtor 1                   Douglas               J                 Craig
                             First Name            Middle Name       Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name       Last Name

  United States Bankruptcy Court for the:                        Western District of Texas

  Case number                           18-10857                                                                                        ✔ Check if this is an
                                                                                                                                        ❑
  (if known)                                                                                                                               amended filing


Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                                 12/15
If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below



   Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

   ✔ No
   ❑
   ❑Yes. Name of person                                                               . Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature
                                                                                        (Official Form 119).




   Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaraion and that they are true and correct.




   ✘ /s/ Douglas J Craig
        Douglas J Craig, Debtor 1, Debtor 1                             ✘
        Date 08/03/2018                                                      Date
                MM/ DD/ YYYY                                                        MM/ DD/ YYYY




Official Form 106Dec                                         Declaration About an Individual Debtor's Schedules
